                UNITED STATES DISTRICT COURT
                NORTHERN DISTRICT OF GEORGIA
                        ROME DIVISION

PUBLIC EMPLOYEES’ RETIREMENT
SYSTEM OF MISSISSIPPI, individually
and on behalf of all others similarly
situated,

                 Plaintiff,             Civ. A. No. 4:20-00005-ELR

     v.

MOHAWK INDUSTRIES, INC., and
JEFFREY S. LORBERBAUM,

                 Defendants.

    REPLY IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS
   CONSOLIDATED CLASS ACTION COMPLAINT FOR VIOLATIONS
              OF THE FEDERAL SECURITIES LAWS
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                             CITATION CONVENTIONS

“CC”: Plaintiff’s Consolidated Class Action Complaint for Violations of the Federal
Securities Laws (ECF No. 37)

“Class Period”: the putative class period, April 28, 2017 through July 25, 2019

“Defendants”: Defendant Mohawk Industries, Inc. and Defendant Jeffrey S.
              Lorberbaum

“FE”: former employee confidential witness

“FNA”: Mohawk’s Flooring North America division

“GAAP”: Generally Accepted Accounting Principles

“LVT”: luxury vinyl tile

“Mohawk” or the “Company”: Defendant Mohawk Industries, Inc.

“Mr. Carson”: Brian Carson, former Mohawk President of Flooring North America

“Mr. Lorberbaum”: Defendant Jeffrey S. Lorberbaum

“Plaintiff”: Plaintiff Public Employees’ Retirement System of Mississippi

“Opening Brief” or “OB”: Defendants’ Opening Brief in Support of their Motion to
                         Dismiss (ECF No. 54-1)

“Opposition” or “Opp.”: Plaintiff’s Opposition to Defendants’ Motion to Dismiss
                        (ECF No. 56)

“PSLRA”: Private Securities Litigation Reform Act of 1995, 15 U.S.C. §§ 78u-4,
         et seq.

“SEC”: United States Securities and Exchange Commission



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      Defendants respectfully submit this reply brief in further support of their

Motion to Dismiss Plaintiff’s CC (cited herein as “¶ _”).

I.    INTRODUCTION

      Defendants’ Opening Brief demonstrated that the CC fails to state a claim and

should be dismissed with prejudice. The Opposition suffers from the same fatal

flaws as the CC—namely, a rote recitation of conclusory statements without the

particularized allegations required to plead an actionable misstatement or omission

under the PSLRA, along with an inability to show loss causation or scienter.

      The Opposition seeks to characterize Defendants’ points as mere factual

disputes regarding the CC’s allegations. That is incorrect. While Defendants do

dispute the CC’s allegations, that is not the point of Defendants’ Motion to Dismiss.

The point of Defendants’ Motion is that the CC suffers from a terminal defect: it

does not and cannot meet the “triple-layered pleading standard” applicable to this

case. Carvelli v. Ocwen Fin. Corp., 934 F.3d 1307, 1317–18 (11th Cir. 2019).

      First, the CC fails to plead an actionable misstatement or omission with

particularity. Specifically, as explained in Defendants’ Opening Brief, the CC fails

to plead the so-called “Saturday Scheme” allegations with the required level of

specificity, relying on allegations from FEs without providing any basis for their

supposed knowledge.        OB at 15-16.       Moreover, the alleged affirmative


                                         1
misstatements regarding Mohawk’s LVT are improperly pleaded. OB at 19-21. The

Opposition does not meaningfully address these arguments, relying on non-binding

authority from other jurisdictions that is inapplicable in certain instances and out-of-

date in others.1

      Second, the CC fails to allege a strong inference of scienter. OB at 21-31.

The Opposition argues that the knowledge of Mr. Carson—who left the Company

in the middle of the Class Period—should be imputed to Mohawk. The Opposition

fails, however, to link any actionable information purportedly furnished by Mr.

Carson to Mohawk’s alleged misstatements or omissions, thereby severing the link

required to plead corporate scienter in this Circuit. The Opposition also seeks to

employ a “gestalt pleading” tactic, arguing that the sheer mass of the CC’s

conclusory scienter allegations should make up for the gaps and holes in their factual

substance. That fails the PSLRA requirements.

      Third, the CC’s loss causation allegations fall short. The CC does not allege

that the purported schemes were ever disclosed by the Company; as such, the CC



1
 See, e.g., In re STEC Inc. Sec. Litig., No. SACV 09-1304 JVS (MLGx), 2011 U.S.
Dist. LEXIS 75093 (C.D. Cal. June 17, 2011); In re Focus Enhancements, Inc. Sec.
Litig., 309 F. Supp. 2d 134 (D. Mass. 2001); In re LDK Solar Sec. Litig., 584 F.
Supp. 2d 1230 (N.D. Cal. 2008); Aldridge v. A.T. Cross Corp., 284 F.3d 72 (1st Cir.
2002).

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lacks the requisite loss causation allegations. OB at 31-33. The Opposition argues

that loss causation is properly pleaded because the alleged disclosures related to the

same “subject matter” as the purported fraud, and because loss causation may be

alleged through a materialization of the risk theory. These arguments fail here.

      For these reasons, and as explained further below, the CC should be dismissed

with prejudice.

II.   ARGUMENT AND CITATION TO AUTHORITY

      A.     The CC Fails to Plead an Actionable Misstatement or Omission.

      To comply with Rule 9(b) in the securities fraud context, Plaintiff must “allege

specifically (1) which statements or omissions were made in which documents or

oral representations; (2) when, where, and by whom the statements were made (or

in the case of omissions, not made); (3) the content of the statements or omissions

and how they were misleading; and (4) what the defendant received as a result of the

fraud.” Carvelli, 934 F.3d at 1318. In addition, the PSLRA requires Plaintiff to

identify the “specific statements or omissions alleged to be misleading,” and to

“articulate the reasons why each statement or omission was misleading.” In re

NDCHealth Corp. Sec. Litig., No. 1:04-cv-0970-WSD, 2005 U.S. Dist. LEXIS

43860, at *36 (N.D. Ga. July 27, 2005). The CC has failed to carry its burden in this

regard, and the Opposition furnishes no credible arguments to the contrary.


                                          3
            1.     The CC’s Saturday Scheme Allegations Were Not Pleaded
                   with Particularity.

      As Defendants’ Opening Brief demonstrates, the CC’s allegations concerning

the “Saturday Scheme” suffer from fatal gaps. OB at 14-19. These allegations are

premised on vague and speculative allegations by FEs, but the CC fails to

“unambiguously provide[] in a cognizable and detailed way the basis of [their]

knowledge.” City of Pontiac Gen. Emps. Ret. Sys. v Schweitzer-Mauduit Int’l, Inc.,

806 F Supp. 2d 1267, 1296-97 (N.D. Ga. 2011).

      Instead of addressing this deficiency, the Opposition devotes several pages of

argument to restating the FE allegations. But restating the CC’s description of the

vague and speculative FE allegations cannot save the Saturday Scheme allegations.

The Opposition does not identify allegations sufficient to “determine whether the

[confidential witness] has reliable first-hand knowledge or whether his statements

are based on [] hearsay or gossip.” Id. The most obvious example is the CC’s failure

to explain how FEs without any connection to Mohawk’s accounting department

would have been aware of supposed ongoing GAAP violations. OB at 15-16.

Without this information, the FE allegations concerning the Saturday Scheme are

conclusory and must be disregarded. See, e.g., Cal. Pub. Emps.' Ret. Sys. v. Chubb

Corp., 394 F.3d 126, 148 (3rd Cir. 2004) (affirming dismissal of claims where



                                         4
allegations did not identify when, where, or how the confidential witness gained

access to the purported information provided).

      The Opposition argues that confidential sources need not be named. Opp. at

21-22. That is irrelevant—Defendants have not argued that the FEs must be

identified by name. Nor have Defendants asked the court to weigh the credibility of

the confidential witness allegations, as the Opposition argues. Opp. at 22. Instead,

Defendants showed how the FE allegations have critical holes in the requisite factual

allegations regarding “how the [confidential witnesses] had knowledge as to when,

how, and if revenue was recognized,” and the CC’s “allegations to that effect fail to

meet the [PSLRA’s] heightened pleading standard” as a result. Carter v. Furniture

Brands Int'l, Inc., No. 4:13CV1600 HEA, 2015 U.S. Dist. LEXIS 9016, at *21 (E.D.

Mo. Jan. 27, 2015). OB at 15-16.

      Even apart from the FE deficiencies, the Opening Brief makes clear that the

Saturday Scheme allegations are insufficient because they do not quantify the

financial impact of any alleged fraud. OB at 17-19. The Opposition overlooks the

robust authority from this Circuit holding that allegations concerning improper

revenue recognition must be pleaded with particularity. This includes, at minimum,

the requirement that the CC demonstrate some quantifiable estimate of the impact

of the Saturday Scheme on Mohawk’s overall financial picture. In re Spectrum

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Brands, Inc. Sec. Litig., 461 F. Supp. 2d 1297, 1310-11 (N.D. Ga. 2006). Alleged

channel-stuffing violations may only support a securities fraud claim if they show

“whether the alleged channel-stuffing practices were widespread or anecdotal” and

“whether they involved hundreds rather than millions of dollars’ worth of product.”

Id.

      In fact, the Eleventh Circuit has held that a complaint must “show that the

amount of sales or revenue improperly recognized is material in relation to the size

of the company’s operations.” In re Coca-Cola Enters. Inc. Sec. Litig., 510 F. Supp.

2d 1187, 1196 (N.D. Ga. 2007). The cases the Opposition cites in response to this

argument are inapposite, as they stand for the proposition that an exact dollar-for-

dollar quantification of the financial impact is not required. See, e.g., In re Faro

Techs. Sec. Litig., 534 F. Supp. 2d 1248, 1260 (M.D. Fla. 2007) (explaining that

“quantify[ing] the falsity to the penny” is not required) (emphasis added). This is

not in dispute. Simply alleging that “four to five million pounds of product” (¶ 133)

were impacted, however, without providing any corresponding estimate of the

financial impact of the Saturday Scheme does not come close to the level of

specificity required to show materiality.




                                            6
             2.    The CC Fails to Adequately Allege that Mohawk’s Historical
                   Statements Were False or Misleading.

      The Opposition asserts that despite the accuracy of Mohawk’s reported

financial results, the CC survives because it challenges the “reasons” for Mohawk’s

“record margins,” along with the “reasons… offered to excuse Mohawk’s increasing

inventory and lengthening turnover . . . .” Opp. at 15-16. That is wrong. The CC

still fails to allege that the Company’s statements were material because it lacks

allegations as to the amount of the supposed misstated revenues and inflated

margins. See Gavish v. Revlon, Inc., No. 00 Civ. 7291 (SHS), 2004 U.S. Dist.

LEXIS 19771, at *45-46 (S.D.N.Y. Sept. 29, 2004) (dismissing channel-stuffing

allegations for failing to aggregate amounts and financial impact). The Opposition

quotes a single, general statement by an analyst as support for a finding of

materiality, but that analyst statement concerns Mohawk’s margin performance,

which the Opposition claims in the same breath that it does not dispute. Opp. at 15.

      The CC cannot have it both ways. If, as the Opposition concedes, the reported

financials are undisputed, then the CC must set forth allegations showing the

disputed statements were material.     It has not, and, accordingly, the lack of

allegations that Mohawk’s historical statements were false or misleading warrant

dismissal.



                                         7
            3.     The CC’s Allegations Concerning Statements About LVT
                   Sales Are Not Actionable.

      For the reasons explained in Defendants’ Opening Brief, the CC does not

plead facts showing the statement that Mohawk was “selling all of the [LVT it] could

have” (¶¶ 260, 297-98) was false or misleading. The Opposition mischaracterizes

Defendants’ argument that this statement is true based on the fact that certain

Mohawk LVT was “unsalable” or “not to be sold”—which the CC itself alleges—

as a “caveat” that Defendants “wish was included.” Opp. at 11. Instead, accepting

the CC’s allegations that much of Mohawk’s U.S. manufactured LVT was

“unsalable” and marked “not to be sold” as true, the Company’s statement that

Mohawk was selling all of the LVT it “could have” would not be false or

misleading. OB at 21. This statement is not actionable as a result.

      Moreover, the statement that “[w]ith their superior design and performance,

our flexible, rigid and commercial LVT collections are being well accepted across

all channels” (¶¶ 94, 262, 273) is puffery for the reasons explained in Defendants’

Opening Brief. The Opposition ignores authority describing comparable statements

concerning inventory and demand as mere puffery. OB at 19-20.

      The Opposition’s suggestion that puffery may only be identified by the trier

of fact, see (Opp. at 13-14), ignores authority from this Circuit identifying and

dismissing puffery on the pleadings. See, e.g., In re HD Supply Holdings, Inc. Sec.

                                         8
Litig., 341 F. Supp. 3d 1342, 1360 (N.D. Ga. 2018) (explaining that puffery can be

dismissed “as a matter of law” when it “is so exaggerated or so vague that a

reasonable investor would not rely on it in considering the ‘total mix’ of facts

available”); Carvelli v. Ocwen Fin. Corp., No. 9:17-cv-80500-RLR, 2018 U.S. Dist.

LEXIS 73597, at *13 (S.D. Fla. Apr. 27, 2018); Mogensen v. Body Cent. Corp., 15

F. Supp. 3d 1191, 1213 (M.D. Fla. 2014). Finally, the Opposition fails to address

Defendants’ argument that the CC does not demonstrate why this statement was false

at the time it was made. OB at 20.

         B.    The CC Fails to Plead Scienter.

         The CC fails to satisfy the PSLRA’s stringent scienter requirement, which the

Eleventh Circuit has characterized as “not insurmountable” but “difficult to meet.”

Mizzaro v. Home Depot, Inc., 544 F.3d 1230, 1257 (11th Cir. 2008). This is in part

because the scienter “inference must be cogent and at least as compelling as any

opposing inference.” Id. Moreover, in this Circuit, “[s]cienter must be found with

respect to each defendant and with respect to each alleged” misstatement or

omission. Coca-Cola Enters. Inc. Sec. Litig., 510 F. Supp. 2d at 1199 (emphasis

added). The CC fails to allege scienter for each defendant with respect to each

alleged misstatement or omission, and the Court should dismiss it for this reason

alone.


                                           9
             1.    Non-Defendant Former Employee Mr. Carson’s Alleged
                   Knowledge Cannot Be Imputed to Mohawk.

      The Opposition argues that Mr. Carson, an individual not named as a

defendant in this action and who was separated from Mohawk eight months before

the end of the Class Period, had knowledge of the CC’s alleged “fraudulent schemes”

and that his knowledge is imputed to Mohawk.                Opp. at 24.      Because

“[c]orporations… have no state of mind of their own…. [t]he scienter of their

agents” may be imputed to them in limited circumstances. Mizzaro, 544 F.3d at

1254. But for his knowledge to be imputed to a corporation, the CC must create a

strong inference not only that Mr. Carson had the requisite state of mind, but that he

was “responsible” for the allegedly false statements made to investors. Southland

Sec. Corp. v. INSpire Ins. Sols. Inc., 365 F.3d 353, 366 (5th Cir. 2004). The CC fails

on its face to satisfy this pleading requirement, and the Opposition presents no

credible arguments to the contrary.2



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  The Opposition argues that Equifax supports a finding of corporate scienter. Opp.
at 25 (citing In re Equifax Inc. Sec. Litig., 357 F. Supp. 3d 1189 (N.D. Ga. 2019).
Not true. There, the court held that scienter had been adequately pleaded as to an
individual defendant. In re Equifax Inc. Sec. Litig., 357 F. Supp. 3d at 1234. Here,
the CC fails to plead scienter as to the only individual defendant in this case, Mr.
Lorberbaum. OB at 21-31. Also, Equifax was premised on a determination that
individuals with actual knowledge that the company’s statements were false “had a
role in crafting many of the [misleading] statements made by the company.” 357 F.
Supp. 3d at 1247. There are no such allegations in the CC as to Mr. Carson.

                                         10
      The CC alleges in a conclusory fashion that Mr. Carson “furnished

information regarding Floor North America” that was provided to investors. ¶¶ 358,

361. The CC does not, however, identify with particularity what this “information”

included, or how any such “information” furnished by Mr. Carson was misleading.

Nor does the CC attempt to identify which, if any, of the alleged misstatements

included this allegedly incorporated “information” from Mr. Carson, or how such

statements incorporated the “information.” Without such particularized allegations,

Mr. Carson’s state of mind cannot support an inference of scienter as to Mohawk

itself. Mizzaro, 544 F.3d at 1254-55 (affirming dismissal where complaint failed to

“create [an] inference” that individuals not named as defendants were “responsible

for issuing the allegedly false public statements”).

      The only category of information arguably attributable to Mr. Carson is

FNA’s financials, but even these allegations fail to support an imputation to the

Company. The CC alleges that Mr. Carson “personally certified the accuracy of the

financials” for FNA, that he “furnished financial information… that was

incorporated into the Company’s SEC filings and other public statements to

investors,” and that he “personally presented the financial information” for FNA to

Mohawk executives. ¶¶ 358, 378. Scienter cannot be imputed to Mohawk on this

basis because the CC does not allege that Mohawk’s financials were false.

                                          11
      In fact, the Opposition explicitly states that the CC “challenges the

Defendants’ misleading descriptions of the reasons for their record margins—not

the reported margins themselves.” Opp. at 15 (emphasis in original). Doubling

down on this argument, the Opposition states with respect to alleged misstatements

concerning Mohawk’s inventory that the CC “challenges the reasons Defendants

offered to excuse Mohawk’s increased inventory and lengthening turnover—not the

reported numbers themselves.” Id. at 16 (emphasis in original). Thus, the only

“information” attributed to Mr. Carson as being “furnished” for distribution to

investors—the accuracy of FNA’s financials—is the very information that the

Opposition emphatically asserts the CC does not dispute.3          Accordingly, the

Opposition’s corporate scienter arguments fail.

             2.    The CC’s Collective Allegations Fail to Support a Strong
                   Inference of Scienter.

      As explained in Defendants’ Opening Brief, even when considered



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  Moreover, the notion that Mr. Carson “furnished information” that was “included”
in the allegedly false statements is incompatible with the allegation that he was the
mastermind of a scheme to “conceal from investors” the “true reasons” for
Company’s sales and margins, inventory levels, and alleged manufacturing product.
¶ 5. Put another way, the CC’s allegations that Mr. Carson spearheaded a secret
scheme that was hidden even from Mr. Lorberbaum until late in the Class Period are
squarely at odds with the Opposition’s attempt to impute Mr. Carson’s scienter to
Mohawk.

                                         12
holistically, the CC’s allegations fail to support a strong inference of scienter against

each Defendant. OB at 22-31. The Opposition’s arguments to the contrary do not

demonstrate otherwise.

        For example, the Opposition asserts that the scope of the supposed Saturday

Scheme supports a finding of scienter, citing In re Flowers Foods, Inc. Securities

Litigation4 for the proposition that “core business” allegations strengthen the

inference. But in that case, the allegedly fraudulent activity was the basis for more

than 84% of the company’s business. Id. at *47. Here, in contrast, the CC’s

allegations concern one of Mohawk’s three business segments, and just two of

FNA’s many product lines. Similarly, the Opposition argues in conclusory fashion

that Mr. Lorberbaum’s receipt of certain reports and SEC filings supports a finding

of scienter. Opp. at 28-29. As Defendants explained in their Opening Brief, it is

well-established that alleged access to these types of reports fails to establish

scienter. OB at 27. Otherwise, courts would reach the absurd result that every

executive with access to financial reporting holds securities fraud scienter. The CC

does not plead with specificity how the content of these supposed reports

contradicted Mohawk’s reported financials or rendered its statements false or

misleading, and the Opposition does not meaningfully address this failure.


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    No. 7:16-CV-222 (WLS), 2018 U.S. Dist. LEXIS 48048 (M.D. Ga. Mar. 23, 2018).
                                           13
      The CC’s scienter allegations cannot be squared with the allegation that Mr.

Lorberbaum was not made aware of the purported fraudulent schemes until a

September 2018 meeting in which he was supposedly confronted about the

purported improprieties. The CC goes so far as to allege that Mr. Lorberbaum had

to “look into” the accusations by FE1 and commence an investigation in order to

substantiate the report from FE1, see ¶¶ 224, 356, which confirms he lacked

knowledge of the alleged schemes before that alleged meeting and, at a minimum,

demonstrates that Mr. Lorberbaum lacked scienter.

      In addition, the CC’s allegation that Mr. Lorberbaum said he “d[idn’t] know

how [he] missed” the alleged fraudulent schemes further supports a lack of scienter.

¶ 356. The Opposition claims that this statement supports a finding of “recklessness”

and cites In re PainCare Holdings Sec. Litig., 541 F. Supp. 2d 1283, 1293 (M.D.

Fla. 2007), a case in which a company conducted a massive financial restatement

following GAAP accounting errors. The CC does not, of course, allege that Mohawk

conducted any such restatement (OB at 13), nor could it, and there is no analogous

basis for a finding that Mr. Lorberbaum was reckless. Such an inference is certainly

not as “compelling as any opposing inference.” Mizzaro, 544 F.3d at 1257.

      Again, the Opposition’s concession that the “reasons” for Mohawk’s

financials, and not the financials themselves, were improper undercuts a plausible

                                         14
scienter inference. Even assuming the FE1 confrontation allegations are sufficient

to create an inference of scienter (and they are not),5 the CC alleges that Mr.

Lorberbaum became aware of the supposed reasons for Mohawk’s allegedly inflated

numbers in September 2018 at the earliest. If Mr. Lorberbaum was not made aware

of the reasons for Mohawk’s margins and inventory numbers until September 2018,

as the CC alleges, he cannot have had scienter with respect to the statements made

before that time. The Opposition does not adequately address this.

            3.     The Failure to Plead Scienter Mandates Dismissal.

      In a last-ditch effort to avoid dismissal, and perhaps acknowledging that the

CC’s allegations cannot survive this Court’s scrutiny and analysis at this pleading

stage, the Opposition incorrectly argues that questions as to whether scienter is

adequately alleged should be reserved for the fact finder, suggesting they are

inappropriate for resolution at the motion to dismiss stage. Opp. at 24. As the

Eleventh Circuit has explained, the PSLRA’s heightened scienter requirements were

designed by Congress “to open the courthouse doors only to those plaintiffs whose

complaints raised a ‘strong inference’ that the defendants they sought to hold




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  As explained in Defendants’ Opening Brief, the allegations concerning this single
meeting are insufficient to meet the scienter burden given the overall weakness of
the CC’s scienter allegations. OB at 29-30.

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responsible for their losses acted with the required bad intent.” Mizzaro, 544 F.3d

at 1257. Thus, when a pleading fails to adequately allege a strong inference of

scienter, the Court “need not address the other elements of a Section 10(b) violation

or the corollary Section 20(a) claim.” Brophy v. Jiangbo Pharms., Inc., 781 F.3d

1296, 1307-08 (11th Cir. 2015) (affirming dismissal of complaint for failure to plead

scienter). In fact, this Court regularly dismisses complaints where this one element

is inadequately alleged. See, e.g., Mizzaro v. Home Depot, Inc., No. 1:06-CV-1151-

ODE, 2007 U.S. Dist. LEXIS 59781, at *27 (N.D. Ga. July 18, 2007) (dismissing

“complaint [that] fail[ed] to state a claim on the basis of scienter alone”). Because

it fails to allege the essential element of scienter, the CC should be dismissed.

      C.     The CC Fails to Plead Loss Causation.

      To satisfy the loss causation requirement of a securities fraud claim, the CC

must allege “not only that a fraudulent misrepresentation artificially inflated”

Mohawk’s stock price at the time of Plaintiff’s purchases, “but also that the fraud-

induced inflation that was baked into the plaintiff’s purchase price was subsequently

removed from the stock’s price” at the time Plaintiff sold its Mohawk stock. Meyer

v. Greene, 710 F.3d 1189, 1195 (11th Cir. 2013) (quotations and citation omitted).

“As explained by the Eleventh Circuit . . . if the decision to invest is induced by

misrepresentations or omissions that are material and were justifiably relied upon by


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the claimant, but are not the proximate cause of his monetary loss, recovery pursuant

to Rule 10b-5 is not permitted.” Barr v. Matria Healthcare, Inc., 324 F. Supp. 2d

1369, 1379-80 (N.D. Ga. 2004) (emphasis added, citation omitted). The CC fails to

meet this burden and should be dismissed.

             1.    The CC’s Purported Disclosures Do Not Relate to the Alleged
                   Fraud.

      Although     disclosures    “need     not   precisely   mirror    the   earlier

misrepresentation,” HD Supply, 341 F. Supp. 3d at 1363, the alleged disclosure must

“specifically relate to the issues involved in the alleged fraudulent scheme.”

Durham v. Whitney Info. Network, Inc., No. 06-CV-00687, 2009 U.S. Dist. LEXIS

113757, at *57 (M.D. Fla. Nov. 10, 2009). None of the general statements identified

by the Opposition as corrective disclosures, including vague references to

“manufacturing reductions,” “physical mechanical failures,” and “software

problems,” satisfy the Eleventh Circuit’s standard for corrective disclosures

concerning the alleged fraud. Opp. at 33. The Opposition does not attempt to link

these purported disclosures to any of the CC’s alleged schemes or the Company’s

purported misstatements or omissions. Because “nothing in the[se] statements

corrects any prior disclosures . . . or reveals any omissions . . . that negatively

affected the price of [the Company’s] common stock,” the CC “has failed to

adequately allege loss causation.” Kinnett v. Strayer Educ., Inc., 501 F. App’x 890,

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894 (11th Cir. 2012).6

             2.     The CC Does Not Allege Loss Causation Through
                    Materialization of the Risk.

      The Opposition’s arguments concerning the materialization of the risk theory

fail.7 “Under the materialization-of-concealed-risk theory, a plaintiff must allege

that the loss was foreseeable and that the loss was caused by the materialization of

the concealed risk.” Sapssov v. Health Mgmt. Assocs., Inc., 22 F. Supp. 3d 1210,

1231 (M.D. Fla. 2014) (quotation marks and citation omitted). Thus, “[w]hen



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  The Opposition again calls upon Flowers Foods to support its loss causation
argument, but its reliance on that case is misplaced. In Flowers Foods, the company
was alleged to have incorrectly classified certain of its distributors as “independent
contractors” rather than employees. 2018 U.S. Dist. LEXIS 48048 at *59-69. The
court found that statements from analysts, news reports, and the Department of
Labor constituted corrective disclosures, because they “revealed that Flowers’ prior
statements about its classification of distributors were misleading.” Id. at *67. For
example, a Flowers Foods disclosure specifically discussed that the DOL had
announced it intended to conduct a compliance review of its independent contractor
classifications, and that it was facing nearly two dozen lawsuits alleging independent
contractors were being misclassified. Id. at *64-66. These statements directly
related to the alleged misstatements and omissions concerning improper employee
classifications. The CC, in contrast, does not connect the purported disclosures to
their allegations of prior misrepresentations and omissions.
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  The Eleventh Circuit “has never decided whether the materialization-of-concealed-
risk theory may be used to prove loss causation in a fraud-on-the-market case.”
Hubbard v. BankAtlantic Bancorp, Inc., 688 F.3d 713, 726 n.25 (11th Cir. 2012).
Other circuits have called into question the validity of the materialization of the risk
theory in securities class action cases. Ludlow v. BP, P.L.C., 800 F.3d 674, 689-91
(5th Cir. 2015).

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evaluating the materialization of the risk, a court asks whether the subject of the

fraudulent statement or omission was the cause of the actual loss suffered, i.e. that

the misstatement or omission concealed something from the market that, when

disclosed, negatively affected the value of the security.” Id.

      Here, the Opposition argues that the unspecified “risk that Mohawk’s inability

to produce quality LVT posed to the Company’s sales and earnings” materialized

when Mohawk missed earnings guidance in the second and third quarters of 2018.

Opp. at 34-35. But it is well-established that the mere fact that earnings were worse

than forecasted does not suffice to plead loss causation. In re Initial Pub. Offering

Sec. Litig., 399 F. Supp. 2d 261, 266 (S.D.N.Y. 2005) (“The fact that an event – in

this case, a failure to meet earnings forecasts or a statement foreshadowing such a

failure – disabused the market of that belief does not mean that the event disclosed

the alleged scheme to the market.”); In re AOL Time Warner, Inc. Sec. Litig., 503 F.

Supp. 2d 666, 678-79 (S.D.N.Y. 2007) (explaining that it was “not enough” to argue

that risk that a company would be unable to meet future revenue projections was

concealed because “the mere failure to meet earnings forecasts is insufficient to

establish loss causation.”).

      In short, securities litigation is not to be used as “an insurance policy covering

losses” and the mere fact that “the price of [] stock dropped,” as the CC alleges, is

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“not a materialization of the risk.” Sapssov, 22 F. Supp. 3d at 1231-32. Accordingly,

the CC fails to plead loss causation through this alternative theory.

             3.     The CC’s Failure to Plead Loss Causation Mandates
                    Dismissal.

       Grasping at straws, the Opposition again argues that whether loss causation is

adequately pleaded is a fact issue that cannot be addressed at motion to dismiss.

Opp. at 35. Courts in this Circuit regularly dismiss securities class actions at the

pleading stage for failure to plead loss causation. In re Witness Sys., No. 1:06-CV-

1894, 2008 U.S. Dist. LEXIS 109174, at *32 (N.D. Ga. Mar. 31, 2008) (collecting

cases); Sapssov v. Health Mgmt. Assocs., 608 F. App’x 855, 863 (11th Cir. 2015)

(affirming dismissal of securities class action for failure to allege loss causation);

Barr, 324 F. Supp. 2d at 1380 (holding where plaintiff “fail[ed] to plead loss

causation, dismissal of his Exchange Act claims against the Defendants [was]

warranted”). Because the CC fails to plead loss causation for the foregoing reasons,

it warrants dismissal in its entirety.

III.   CONCLUSION

       For each of these reasons, the CC should be dismissed in its entirety.




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     Respectfully submitted this 27th day of January, 2021.

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                   LOCAL RULE 7.1D CERTIFICATION

      By signature below, counsel certifies that the foregoing document was

prepared in Times New Roman, 14-point font in compliance with Local Rule 5.1C.



                                     /s/ Robert R. Long________
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                         CERTIFICATE OF SERVICE

      I hereby certify that on the 27th day of January, 2021, I electronically filed

the foregoing REPLY IN FURTHER SUPPORT OF DEFENDANTS’ MOTION

TO DISMISS PLAINTIFF’S CONSOLIDATED CLASS ACTION COMPLAINT

FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS with the Clerk of

Court using the CM/ECF system, which will automatically send notification of

such filing upon Counsel of Record.

      This 27th day of January, 2021.



                                        /s/ Robert R. Long________
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